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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA
                                                                        No. 17-cr-10158-FDS-1
                  v.

 ALBERT TADERERA


                             DEFENDANT’S MOTION TO DISMISS

        In light of the evidence presented at the motions hearing on March 26, 2018, Defendant

Albert Taderera moves for dismissal of the Indictment. This motion is made pursuant to Rule

12(b)(1) of the Federal Rules of Criminal Procedure. Viewed in the light most favorable to the

government, the identity evidence in this case is insufficient to submit the case to a jury.

                                         LEGAL STANDARD

        A motion to dismiss a count in an indictment generally tests the sufficiency of that count to

charge an offense. See United States v. Guerrier, 669 F.3d 1, 3 (1st Cir. 2011). Although the First Circuit

has stated that “in the ordinary course of events,” a technically sufficient indictment is enough to

proceed with a trial on the charge, id., in limited circumstances, “[a] court may receive evidence on a

motion to dismiss.” United States v. Stevens, 578 F. Supp. 2d 172, 177 (D. Me. 2008) (citing United

States v. Ferris, 807 F.2d 269, 271 (1st Cir. 1986)). See also United States v. Todd, 446 F.3d 1062, 1067

(10th Cir. 2006) (a court may “dismiss charges at the pretrial stage where the operative facts are

undisputed and the government fails to object to the district court’s consideration of those

undisputed facts in making the determination regarding a submissible case.” (internal quotation




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marks, alteration, and citation omitted)). 1 For the purpose of ruling on a motion to dismiss, the

court should consider the factual allegations underlying a count to be true. See Boyce Motor Lines, Inc.

v. United States, 342 U.S. 337, 343 n.16 (1952); United States v. Bohai Trading Co., Inc., 45 F.3d 577, 578

n.1 (1st Cir. 1995).

                              ARGUMENT:
       THE EVIDENCE IS INSUFFICIENT TO SUBMIT THIS CASE TO A JURY

        Viewing the evidence most favorably to the government, the identity evidence it could put

forward is as follows:

            •   A six-foot tall black male driving a black BMW and wearing sunglasses was seen in

                conjunction with the charged bank robbery of the TD Bank in Wayland, MA, on

                October 7, 2016.

            •   Albert Taderera is a six-foot tall black male who drives a black BMW.

            •   Albert Taderera was sitting in his BMW, in Concord, MA, five months after the

                charged robbery. The vehicle was parked unusually close to a bank that the FBI

                suspected could be hit next in a string of bank robberies. Taderera acted furtively

                when seen and then stopped by the police and could not give a satisfactory

                accounting of his stop at the Concord Greene apartments. He had sunglasses and

                gloves in his car.

            •   Taderera purchased a last-minute ticket to travel to Africa after discovering that his

                vehicle was in police custody. He packed up all of his belongings.


1 Cf., e.g., United States v. Brissette, D. Ma. No. 16-cr-10137-LTS, where the government proffered its
evidence and all parties agreed that, under the court’s interpretation of the Hobbs Act, the evidence
was insufficient to support submitting the case to a jury.

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            •   Anjala Manuelpillai, Taderera’s ex-wife, viewed surveillance footage of some

                uncharged bank robberies. She stated, of one of the uncharged robberies, that the

                suspect “could be him,” meaning her ex-husband.

            •   A hat with Taderera’s DNA on it, along with that of three other individuals, was

                found approximately 175 yards from a different, uncharged bank robbery. 2

        In light of the evidence presented at the hearing and the government’s arguments, and in line

with the Court’s observations, Taderera submits that there is insufficient evidence on the identity

element to submit this case to a jury. Even if the ex-wife’s observation that the Woburn robber

“could be” Taderera were admissible, it is insufficient, as a matter of law, to establish identity in the

charged robbery. The government has no evidence connecting Taderera to the crime he is charged

with committing. In this extraordinary circumstance, the Court should order dismissal.



                                                         Respectfully submitted,

                                                         ALBERT TADERERA
                                                         By His Attorneys,

                                                         /s/ W. Jamiel Allen
                                                         W. Jamiel Allen
                                                         AZ Bar # 024631

                                                         /s/ Amy Barsky
                                                         Amy Barsky
                                                         Cal. Bar # 270846

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2 The government has stated that it does not intend to introduce this evidence.

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                                        Certificate of Service

        I, Jamiel Allen, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF) on
March 29, 2018.


                                                       /s/ Jamiel Allen




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